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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CRAIG WILLIAMS,                                     )
                                                    )
                       Plaintiff,                   )   1:23-cv-00037
                                                    )
                                v.                  )
                                                    )
LAUREL R. HARRY, et al.,                            )
                                                    )
                       Defendants.                  )

                                            ORDER

       For the reasons set forth in the Court’s accompanying Opinion of this date, Plaintiff’s

Motion for Summary Judgment (ECF No. 96) is granted in part and denied in part. Defendants’

Motion for Summary Judgment (ECF No. 92) is granted in part and denied in part. More

specifically, the Court hereby Orders as follows:

           •   Summary judgment is granted for Williams on his Religious Land Use and

               Institutionalized Persons Act (RLUIPA) claim but only as applied to his challenge

               to the Little Policy. The Preliminary Injunction Order at ECF No. 47 is hereby made

               permanent, according to its terms, and as applicable to SCI-Albion.

           •   Summary judgment is denied for Williams in all other respects.

           •   Summary judgment is granted for Defendants as to:

                  o Williams’s claims for money damages. Monetary relief is unavailable for

                      Williams.

                  o Williams’s claims for equitable relief under RLUIPA and the First

                      Amendment as applied to the charitable giving provision of the Shelf Stable

                      Policy.
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                  o Williams’s claim for equitable relief under the First Amendment insofar as

                       he alleges that halal meat served for the Eid holidays must be fresh and that

                       the Shelf Stable Policy fails to comply with that belief.

                  o Williams’s claim for equitable relief under the First Amendment insofar as

                       he alleges that the Eid holidays require the service of or option to purchase

                       halal meat for the Eid holidays and that the Little Policy violates that belief.

           •   Summary judgment is denied for Defendants as to:

                  o Williams’s RLUIPA claim as applied to the Little Policy.

                  o Williams’s claim for equitable relief under RLUIPA insofar as he alleges

                       that halal meat served for the Eid holidays must be fresh and that the Shelf

                       Stable Policy fails to comply with that belief.

Thus, the only issues that remain in this case, to be resolved at a bench trial, are whether

Williams has a sincerely held religious belief that halal meat consumed at the Eid feasts must be

fresh and if so, whether, under RLUIPA, the Shelf Stable Policy burdens such a belief and

is the least restrictive means in addressing a compelling DOC interest.

                                                              s/ Mark R. Hornak
                                                              Mark R. Hornak
                                                              Chief United States District Judge


Dated: July 26, 2024
